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                          Exhibit 2
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                                                    ADVICE OF RIGHTS




                                                           YOUR RIGHTS

                          Before we ask you any questions, you must understand your rights.

                          You have the right to remain silent.

                          Anything you say can be used against you in court.

                          You have the right to talk to a lawyer for advice before we ask you any questions.

                          You have the right to have a lawyer with you during questioning.

                          If you cannot afford a lawyer, one will be appointed for you before any questioning   if you wish.

                          If you decide to answer questions now without a lawyer present, you have the right to stop
                          answering at any time.




                          I have read this statement of my rights and I understand what my rights are. At this time, I am
                          willing to answer questions without a lawyer present.


                                                                       Signed~?t         •..••--:::::
                                                                                                   ~
              Witness:
